          Case 1:22-cv-01191-RC Document 15 Filed 06/13/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                              )
GROWTH ENERGY,                                )
                                              )
                            Plaintiff,        )
                                              )
v.                                            )
                                              ) No. 1:22-cv-01191-RC
MICHAEL S. REGAN, in his official capacity as )
Administrator, U.S. Environmental Protection  )
Agency, and ENVIRONMENTAL PROTECTION )
AGENCY,                                       )
                                              )
                            Defendants.       )
__________________________________________)

                                            NOTICE

       Please take notice that, pursuant to Paragraph 6(a) of the decree entered by this Court, the

parties provide notice of their stipulated extension to and including June 21, 2023, of EPA’s

deadline to sign a final rule. Based on discussions and mutual understandings, the parties so

stipulate with the understanding that EPA will not seek a further extension of any deadline

established by the decree.

Dated: June 13, 2023.

                                                    Respectfully submitted,

                                                    /s/ Seth P. Waxman
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                                                    Counsel for Plaintiff



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          Case 1:22-cv-01191-RC Document 15 Filed 06/13/23 Page 2 of 2




                                                     TODD KIM
                                                     Assistant Attorney General

                                                     /s/ Caitlin McCusker
                                                     CAITLIN MCCUSKER
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                                                     Counsel for Defendants
                                CERTIFICATE OF SERVICE
       I certify that on June 13, 2023, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system, which will send notice of such filing to all counsel of record.

                                                      /s/ Caitlin McCusker




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